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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:05CR257
                      Plaintiff,                   )
                                                   )
       vs.                                         )               ORDER
                                                   )
AMANDA NIELSON,                                    )
                                                   )
                      Defendant.                   )


       This matter is before the court on the motions for an extension of time by defendant
Amanda Nielson (Nielson) (Filing No. 26). Nielson seeks an extension of time of seven days
in which to file pretrial motions pursuant to paragraph 3 of the progression order. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Nielson's motion for an extension of time (Filing No. 26) is granted.
Defendant Nielson is given until on or before August 26, 2005, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between August
22, 2005 and August 26, 2005, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
requires additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 22nd day of August, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
